  4:24-cv-03039-JMG-JMD Doc # 20 Filed: 04/22/24 Page 1 of 2 - Page ID # 81




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


ASHLEY SCOGGIN,


                   Plaintiff,                            4:24CV3039


       vs.
                                                   SCHEDULING ORDER
BOARD OF REGENTS OF THE
UNIVERSITY OF NEBRASKA, AMY
WILLIAMS, in her individual capacity;
TREV ALBERTS, in his individual
capacity; and CHUCK LOVEJR., in his
individual capacity;


                   Defendants.


      IT IS ORDERED:


      1)     The parties shall review the Nebraska magistrate judges’ practices
             posted at the court’s Civil Case Management website page.1


      2)     The parties shall confer and, on or before May 20, 2024, they shall
             jointly file a Rule 26(f) Report, a copy of which can be found at
             http://www.ned.uscourts.gov/forms.2 Unless the parties agree



      1
     (https://www.ned.uscourts.gov/attorney/judges-information/civil-case-
management).
      2
       See https://www.ned.uscourts.gov/forms. The parties are hereby notified
or reminded that the Rule 26(f) Report for civil cases pending in the District of
Nebraska has been substantially modified, with an effective date of June 11, 2020.
   4:24-cv-03039-JMG-JMD Doc # 20 Filed: 04/22/24 Page 2 of 2 - Page ID # 82




            otherwise, Plaintiff(s) shall prepare the initial draft of the Report and
            then forward it to Defendant(s) for further additions or revisions.


      3)    On or before May 13, 2024, a party shall contact the chambers of the
            undersigned magistrate judge to set a conference call if:


            a.     One or more of the parties believes a planning conference is
                   needed to complete the Rule 26(f) Report; or


            b.     The parties cannot agree on one or more of the deadlines
                   identified or case progression issues raised in the Rule 26(f)
                   Report; or


            c.     The parties are currently and actively pursuing settlement and
                   believe preparing and filing a Rule 26(f) Report may be
                   unnecessary.


      Dated this 22nd day of April, 2024.


                                             BY THE COURT:


                                             s/ Jacqueline M. DeLuca
                                             United States Magistrate Judge




      At the civil bar’s request, the court created a Rule 26 Report Calculator for
generating proposed dates to complete the Rule 26(f) Report. This online tool was
designed to offer insight on how cases are typically progressed in the District of
Nebraska. It does not replace the need for counsel to decide what is reasonable
and appropriate in a specific case.
